                     Case 1:16-cv-01241-TWT Document 353 Filed 02/08/24 Page 1 of 3
                 USCA11 Case: 23-13999 Document: 8-1 Date Filed: 02/08/2024 Page: 1 of 2




                                                         In the
                                      United States Court of Appeals
                                              For the Eleventh Circuit
                                                ____________________

                                                      No. 23-13999
                                                ____________________

                             ROTHSCHILD CONNECTED DEVICES INNOVATIONS, LLC,
                                                                           Plaintiﬀ-Appellant,
                             versus
                             COCA-COLA COMPANY,


                                                                         Defendant-Appellee.


                                                ____________________

                                       Appeal from the United States District Court
                                          for the Northern District of Georgia
                                          D.C. Docket No. 1:16-cv-01241-TWT
                                                ____________________

                                                      JUDGMENT




ISSUED AS MANDATE 2/8/2024
                     Case 1:16-cv-01241-TWT Document 353 Filed 02/08/24 Page 2 of 3
                 USCA11 Case: 23-13999 Document: 8-1 Date Filed: 02/08/2024 Page: 2 of 2




                             2                                                         23-13999

                             It is hereby ordered, adjudged, and decreed that the opinion is-
                             sued on this date in this appeal is entered as the judgment of this
                             Court.
                                                  Entered: January 9, 2024
                                       For the Court: DAVID J. SMITH, Clerk of Court




ISSUED AS MANDATE 2/8/2024
      Case 1:16-cv-01241-TWT Document 353 Filed 02/08/24 Page 3 of 3
  USCA11 Case: 23-13999 Document: 8-2 Date Filed: 02/08/2024 Page: 1 of 1


                         UNITED STATES COURT OF APPEALS
                            FOR THE ELEVENTH CIRCUIT
                            ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                          56 Forsyth Street, N.W.
                                          Atlanta, Georgia 30303

David J. Smith                                                                     For rules and forms visit
Clerk of Court                                                                     www.ca11.uscourts.gov


                                       February 08, 2024

Clerk - Northern District of Georgia
Richard B. Russell Bldg & US Courthouse
2211 UNITED STATES COURTHOUSE
75 TED TURNER DR SW
STE 2211
ATLANTA, GA 30303-3309

Appeal Number: 23-13999-D
Case Style: Rothschild Connected Devices Innovations, LLC v. Coca-Cola Company
District Court Docket No: 1:16-cv-01241-TWT

A copy of this letter, and the judgment form if noted above, but not a copy of the court's
decision, is also being forwarded to counsel and pro se parties. A copy of the court's decision
was previously forwarded to counsel and pro se parties on the date it was issued.

The enclosed copy of the judgment is hereby issued as mandate of the court. The court's opinion
was previously provided on the date of issuance.

Clerk's Office Phone Numbers
General Information: 404-335-6100          Attorney Admissions:         404-335-6122
Case Administration: 404-335-6135          Capital Cases:               404-335-6200
CM/ECF Help Desk: 404-335-6125             Cases Set for Oral Argument: 404-335-6141




Enclosure(s)
                                                                    MDT-1 Letter Issuing Mandate
